                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                                 )
                                                         )
                                                         )
v.                                                       )       Criminal No. 3:24-cr-00217
                                                         )       Judge Trauger
PHILIP TAYLOR SOBASH                                     )
                                                         )

                               ORDER RESETTING JURY TRIAL

        This case is reset for jury trial on November 18, 2025 at 9:00 a.m. in Courtroom 6C, United

States Courthouse, 719 Church Street, Nashville, Tennessee. As soon as it appears that the case will

be tried, the parties shall notify Judge Trauger’s courtroom deputy of the anticipated number of trial

days that will be necessary.

        Any plea agreement shall be consummated by noon on the Tuesday before the trial, and the

Courtroom Deputy notified thereof. Expert witness disclosures by both the government and the

defendant(s) shall be made 30 days before trial. Any proposed plea agreement shall be submitted to

the court by two (2) business days before the scheduled change of plea hearing.

        In advance of any plea hearing, the United States Attorney shall submit to chambers a document

that lists the elements of each offense to which the defendant is pleading guilty and the statutory penalty

for each charge against the defendant, whether or not he is pleading to the charge, including period

of incarceration, fine, and period of supervised release applicable.

        If the case is to be tried, the parties shall file the following by the close of business on the

Tuesday before the trial:

        1.      an agreed set of jury instructions;



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       2.      alternative versions of jury instructions on which there is not an agreement, with
               citations to supporting authorities;

       3.      an agreed verdict form or alternative versions.

       Motions in limine shall be filed fourteen (14) days before the trial, and responses to

motions in limine shall be filed by seven (7) days before trial.

       Parties shall email in MS Word format, all proposed instructions and verdict forms that are

filed to debby_sawyer@tnmd.uscourts.gov and to katheryn_beasley@tnmd.uscourts.gov.

       It is so ORDERED.




                                                       ________________________________
                                                       ALETA A. TRAUGER
                                                       U.S. District Judge




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